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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION
                                         LONDON

 UNITED STATES OF AMERICA,                          )
                                                    )
         Plaintiff,                                 )      Criminal No. 6:13-cr-48-GFVT-HAI-3
                                                    )
 V.                                                 )
                                                    )
 LESLIE CORNETT,                                    )                      ORDER
                                                    )
         Defendant.                                 )


                                         *** *** *** ***

        This matter is before the Court on the Recommended Disposition [R. 372] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, Leslie Cornett, is charged

with five violations of his supervised release conditions. Id. at 2-4. These five violations fall

into three general categories: (i) failure to follow the instructions of his probation officer; (ii)

admission to use of methamphetamine; and (iii) trafficking of a controlled substance. Id.

Judgment was originally entered against the Defendant on January 22, 2015, for conspiracy to

manufacture a mixture containing methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and

846. Id. at 1. He was originally sentenced to thirty-two months followed by a three-year term of

supervised release. Id. Mr. Cornett began his term of supervised release on October 7, 2016. Id.

        Mr. Cornett had his initial supervised release revoked for the violations of commission of

a crime, failure to report an arrest to the United States Probation Office, and failure to report to

the USPO. Id. These violations resulted in a sentence of six month of imprisonment and two

years of supervised release. Id. The Defendant then began his second term of supervised release
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on August 22, 2018.

       Shortly thereafter, on September 18, 2018, Cornett was charged with violating two

conditions of his release. Id. at 2. Then, on October 1, he was charged with two additional

violations of his supervised release. Id. Finally, on October 15, a Second Addendum charged

Cornett with a fifth violation. Id.

       The initial two violations are similar. In both instances Cornett failed to follow the

instructions of his Probation officer. Within 72-hours of his release from custody Cornett was

required to report to the USPO. Instead, Cornett waited 120 hours to meet with an officer. Id.

This constitutes a Grace C violation. Cornett’s second failure to follow instructions when he,

again, failed to timely report to his probation officer after his initial appearance. Id. Indeed,

after explaining that he had car trouble and would not be able to report, Officer Armstrong

attempted to reach Cornett. Id. at 3. However, all of Officer Armstrong’s attempts were futile.

Id. In the end, Cornett failed to show up at the designated time. Like the first violation, this is a

Grade C violation. Id.

       Cornett’s third and fourth violations stem from his admission to using methamphetamine.

Id. As a condition of his release Cornett agreed to “refrain from any unlawful use of a controlled

substance.” Id. However, after his release, Cornett admitted to using methamphetamine. Id.

This too was a Grade C violation. This admission also triggered a violation of a second

mandatory condition that he “not unlawfully possess a controlled substance,” because Sixth

Circuit precedent construes use as the equivalent of possession.

       Finally, Cornett was charged by a grand jury with trafficking in a controlled substance,

first degree. Id. As with the fourth violation, this violates the condition that he “not commit

another federal, state, or local crime, and that he must not unlawfully possess a controlled
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substance.” Id. at 4. This conduct would constitute a Grade A violation but was dismissed on

the Government’s motion. Id. at 10.

       At the final revocation hearing, held on November 29, 2018, Cornett competently entered

a knowing, voluntary, and intelligent stipulation to the first four violations that had been charged

by the USPO in the Supervised Release Violation Report and Addendum. [R. 371.] On

December 5, 2018, Magistrate Judge Ingram issued a Recommended Disposition which

recommended revocation of Cornett’s supervised release and a term of nine months of

imprisonment followed by a one-year term of supervised release. [R. 372.]

       Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors in coming to his

recommended sentence. Judge Ingram began by noting the nexus between Cornett’s conviction

for manufacturing a mixture containing methamphetamine and confessing to continued use of the

same drug. Id. at 6. While Cornett’s honesty with his Probation Officer and forthrightness with

the Court are mitigating factors, its effect is diminished by his failure to follow the directions

given to him by the USPO. Id. at 8.

       Judge Ingram also reiterated the need to deter criminal conduct. This factor counseled in

favor of an additional term of supervision because methamphetamine is only procured through

illegal means. Id. at 8. Continued use puts him and the general public at increased risk of injury

or death. Id. at 9. The additional term of supervision should help prevent Cornett from

continued criminal behavior or increase the likelihood that he is caught if he does continue to

violate the law. Id. Sadly, Cornett’s continued use of methamphetamine also speaks to an

addiction. To help him combat this addiction, the Court recommends that as a condition of his

supervised release that he complete a term of mandatory inpatient drug treatment at the facility

of the USPO’s choosing. Id.
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       In recommending a lengthier term of imprisonment, Judge Ingram highlighted the he

previously received a middle of the advisory Guidelines range sentence for his first supervisory

release violation. Id. A second violation warrants a longer prison sentence. Id. This necessity

is made clear by the fact that the primary wrong committed by Cornett was the violation of the

Court’s trust. Id. at 10. Cornett must learn that he must respect the Court and the USPO or he

will face harsh consequences. Id.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. Id. at 9. See 28 U.S.C. § 636(b)(1). No objections have been filed, and Defendant

Cornett submitted a waiver of allocution. [R. 376.] Generally, this Court must make a de novo

determination of those portions of the Recommended Disposition to which objections are made.

28 U.S.C. § 636(b)(1)(c). When no objections are made, as in this case, this Court is not

required to “review . . . a magistrate’s factual or legal conclusions, under a de novo or any other

standard.” See Thomas v. Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a

magistrate judge’s report and recommendation are also barred from appealing a district court’s

order adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Nevertheless, this Court has examined the record and agrees with Magistrate Judge

Ingram’s Recommended Disposition. Accordingly, and the Court being sufficiently advised, it is

hereby ORDERED as follows:

       1.      The Recommended Disposition [R. 372] as to Defendant Leslie Cornett is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Cornett is found to have violated the terms of his Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition
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of the Magistrate Judge;

       3.        Cornett’s Supervised Release is REVOKED;

       4.        Mr. Cornett is SENTENCED to the Custody of the Bureau of Prisons for a term

of nine months of imprisonment:

       6.        A one-year term of supervised release under the same conditions originally

imposed in the prior revocation judgment [R. 350] along with the following additional

conditions:

              a) You must submit your person, property, house, residence, vehicle, papers,

                 computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic

                 communications or data storage devices or media, or office, to a search conducted

                 by a United States probation officer. Failure to submit to a search may be

                 grounds for revocation of release. You must warn any other occupants that the

                 premises may be subject to searches pursuant to this condition. An officer may

                 conduct a search pursuant to this condition only when reasonable suspicion exists

                 that you have violated a condition of your supervision and that the areas to be

                 searched contain evidence of this violation. Any search must be conducted at a

                 reasonable time and in a reasonable manner;

              b) You must provide to the USPO, within 7 (seven) days of release from the custody

                 of the Bureau of Prisons, a written report, in a form the USPO directs, listing each

                 and every prescription medication in your possession, custody or control. The list

                 must include, but not be limited to, any prescription medication that contains a

                 controlled substance and encompasses all current, past and outdated or expired

                 prescription medications in your possession, custody, or control at the time of the
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            report;

        c) You must notify the USPO immediately (i.e. within no later than 72 hours) if you

            receive any prescription for a medication containing a controlled substance during

            the period of supervised release. You must provide the USPO such

            documentation and verification as the USPO may reasonably request and in a

            form the USPO directs;

        d) You must comply strictly with the orders of any physician or other prescribing

            source with respect to use of all prescription medications;

        e) You must report any theft or destruction of your prescription medications to the

            U.S. Probation Officer within 72 hours of the theft or destruction; and

        f) Must complete a term of inpatient substance-abuse treatment at a facility

            approved by the USPO and that he complies with all rules and requirements of the

            treatment program.

     This the 11th day of January, 2019.




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